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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

     v.                                     Criminal Action No. 23-490 (SHS)

ROBERT MENENDEZ, et al.,                     Document Electronically Filed

           Defendants.




  REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANT
              WAEL HANA’S MOTION TO SUPPRESS




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                                 PRELIMINARY STATEMENT

       The Government acknowledges its omissions of known information from affidavits based

upon which it obtained search warrants for evidence seized from defendant Wael Hana in this case.

Facing the suppression of that evidence, it seeks to justify its actions in ways that are at odds with

established Fourth Amendment jurisprudence. For example, it analyzes the evidence at issue

piece-by-piece and in isolation, as opposed to as a whole and with the benefit of common sense,

as the law requires. It argues that the misstatements or omission in its submissions seeking

warrants—which resulted in unlawful searches—were immaterial, or that the Court should find

that the Government acted in good faith based upon other purportedly (though not actually)

inculpatory evidence that was not included in the applicable affidavits; but the Government does

not explain how it can possibly be appropriate for it, or the Court, to rely on evidence outside the

four corners of the search warrant affidavits. Likewise, the Government never explains how its

omission of inculpatory evidence could logically ever justify the exclusion of evidence negating

probable cause. And the Government argues that its actions were not intentional or reckless,

though this contention flies in the face of the many, repeated instances in which it omitted evidence

that an issuing Magistrate Judge would certainly want to know in fully and fairly considering the

question of whether probable cause for a Fourth Amendment search had been shown. At times, it

points to its actions in owning up to exculpatory facts as excusing its conduct in failing to reveal

others, though its admissions against interests address different facts and are often hidden in

footnotes far from the pertinent discussions in its affidavits.

       The constitutional violations that flow from these unlawful searches, discussed in further

detail in Mr. Hana’s moving brief and below, warrant a full airing of the sort that the Supreme

Court has mandated in Franks v. Delaware, 438 U.S. 154 (1978), in order to address controversies

like this one. Upon the conclusion of that hearing, Mr. Hana will ask that the subject evidence be


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suppressed for these reasons and because the warrants ultimately issued were overbroad, at least

in part, because the evidence seized was not limited by the criminal violations cited. Once the

Court has the benefit of a full record upon which to rule, it should grant Mr. Hana’s motion, lest

the Fourth Amendment protections to which he was entitled be rendered a dead letter.

                                            ARGUMENT1

I.        MR. HANA IS ENTITLED TO A FRANKS HEARING.

          As set forth in Mr. Hana’s moving brief, the search warrant affidavits at issue here2 contain

numerous materially false and misleading statements and omissions that knowingly or recklessly

misled the issuing magistrates to find probable cause, in violation of the Fourth Amendment to the

Constitution. In response, the Government argues that Mr. Hana has failed to show that the affiants

acted with an “intent to mislead or reckless disregard for the truth” and generally asks the Court to

ignore the false statements or omissions to and to find that there was probable cause in any event.

ECF No. 190, Memorandum of Law of the United States in Opposition to the Defendants’ Motion

to Suppress (“Opp.”) at 12-57.           Specifically, the Government, addressing each alleged

misrepresentation and omission in isolation, argues that none is material to a finding of probable

cause, id. at 34-51, and that even if the falsehoods were material, the Government’s decision “to

omit additional and often devastating inculpatory information, show that the defendants . . . do not

meet or even closely approach the second threshold requirement for suppression or a hearing,

namely that the alleged material omissions were left out of an affidavit intentionally or recklessly

by the affiant,” id. at 7 (emphasis in original). But, as detailed in Mr. Hana’s moving brief and




1
    Unless otherwise noted, all internal citations and quotation marks are omitted from citations.
2
 Unless otherwise noted, Mr. Hana’s Franks challenge targets the December 20, 2022, January
17, 2023, February 14, 2023, and September 20, 2023 search warrants. See ECF No. 141, Lustberg
Declaration, Exhibits (“Ex.”) E, D, F, and G respectively.


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further explained below, these false and misleading statements and omissions are far from

inconsequential blemishes, but rather are abundant throughout the affidavits and went to critical

facts of the case, that were clearly essential to the Magistrate Judges’ determinations of probable

cause.    That is, had the issuing magistrates been presented with the full truth, which the

Government does not dispute it knew at the time, their view of these warrant applications would

have been very different, and the warrants at issue would not have been approved. As such, the

Court should order a hearing pursuant to Franks v. Delaware, to determine the sufficiency of the

evidence used to support these warrants.

         A.     The Warrant Affidavits Contain False And Misleading Statements and
                Omissions That Were Material To The Findings Of Probable Cause.

         Under Franks, a defendant is entitled to a hearing to challenge the veracity of a search

warrant affiant’s statements when he makes a “substantial preliminary showing that (1) there were

intentional misrepresentations or omissions in the warrant affidavit, or, in other words the claimed

inaccuracies or omissions are the result of the affiant’s deliberate falsehood or reckless disregard

for the truth; and (2) those misrepresentations or omissions were material, or necessary to the

issuing judge’s probable cause finding.” United States v. Nejad, 436 F. Supp. 3d 707, 725, 718-

19 (S.D.N.Y. 2020) (emphasis omitted) (quoting United States v. Rajaratnam, 719 F.3d 139, 146

(2d Cir. 2013)). Addressing each prong in turn, the Government first contends that Mr. Hana’s

motion should be denied without a hearing because each separate falsehood was itself not material

to the magistrates’ findings of probable cause. But the Government’s resolve to take its omissions

one at a time, instead of considering them as a whole, is inconsistent with the law, which requires

the Court to consider the “totality-of-the-circumstances.” Illinois v. Gates, 462 U.S. 213, 230

(1983). Thus, just as “[i]n assessing the proof of probable cause, the government’s affidavit in

support of the search warrant must be read as a whole, and construed realistically,” United States



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v. Salameh, 152 F.3d 88, 113 (2d Cir. 1998); see also United States v. Tyler, 238 F.3d 1036, 1038

(8th Cir. 2001) (“In determining whether probable cause exists, we do not evaluate each piece of

information independently; rather, we consider all of the facts for their cumulative meaning.”), so

is it the case that “[t]he effect of misrepresentations and omissions on the existence of probable

cause is to be considered cumulatively,” United States v. Kiser, 716 F.2d 1268, 1274 (9th Cir.

1983); see also United States v. Discala, No. 22-cr-675, 2023 WL 4118637, at *2 (2d Cir. June

22, 2023) (affirming district court denial of hearing after considering omissions individually and

“collectively with the other challenged representations and omissions”); United States v. Maglio,

21 F.4th 179, 187 (1st Cir. 2021) (affirming district court denial of Franks hearing on basis that

defendant had not established “materiality, either cumulatively or as to any particular alleged

omission or false statement”).

       Thus, “[t]o determine if the false information was necessary to the issuing judge’s probable

cause determination, i.e., material,” a court must decide whether “putting aside erroneous

information . . . there remains a residue of independent and lawful information sufficient to support

probable cause.” United States v. Awadallah, 349 F.3d 42, 66 (2d Cir. 2003) (“[A] court should

disregard the allegedly false statements and determine whether the remaining portions of the

affidavit would support probable cause to issue the warrant.”). Or, in the case of material

omissions, the issue is whether even in light the facts omitted from the challenged affidavits, there

would still be probable cause. Rajaratnam, 719 F.3d at 146 (To determine materiality courts must

ask “whether, if the omitted material had been included in the affidavit, the affidavit would still

establish probable cause” (quoting United States v. Martin, 615 F.2d 318, 328 (5th Cir. 1980));

Nejad, 436 F. Supp. 3d at 719 (“[T]o determine materiality, courts should disregard the allegedly

false statements, insert the omitted truths, and determine whether there remains a residue of




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independent and lawful information sufficient to support probable cause.”). And again, “[t]he

omitted information and the information in the affidavit must be considered as a whole in

determining if probable cause continues to exist.” United States v. Mandell, 710 F. Supp. 2d 368,

374 (S.D.N.Y. 2010) (quoting United States v. Marin–Buitrago, 734 F.2d 889, 895 (2d Cir. 1984)).

       The Government, however, disregards this fundamental rule of law, focusing on one

purported omission at a time rather than looking to all of them, as a whole, to determine their effect

on probable cause. Separating each identified omission into different individually labeled sections,

see Opp. at 35 (“Official-2”), id. at 37 (“The State Department and SFRC Employees”), id. at 40

(“The New Jersey Defendant”), id. at 43 (“The Hana Associate”), id. at 45 (“The Laboratory

Company CEO and the Health Official”), id. at 47 (“Associate-2, Associate-3, and the Insurance

Client”), id. at 48 (“The Statements About Gold Were Not Necessary to Probable Cause”), the

Government argues that it is “highly implausible” that the magistrates would have come to a

different probable cause finding had they been aware of                     statement that he did not

recall discussing a criminal investigation with Senator Menendez during their January 2019 phone

call, id. at 35-36, and that the inclusion of “any” of the statements of the three current or former

State Department or Senate Committee on Foreign Relations (“SFRC”) employees “would not

have defeated probable cause,” id. at 39. Indeed, the Government continues its individualized

analysis of probable cause throughout its opposition, claiming that each alleged omission, in and

of itself, “would not have disturbed probable cause.” Id. at 44 (“to the extent [information

concerning                   landscaping services for the Menendezes] was not disclosed, it plainly

would not have disturbed probable cause”); id. at 46 (“the alleged omission of the Laboratory

Company’s CEO’s denial, in July 2022 . . . could not plausibly have affected the probable cause

determination”), id. at 47 (“[t]hat three persons doing business with




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                   stated that they believed                  was the owner . . . would not have

supported probable cause”), id. 48 (“omissions of certain statements concerning the gold bars . . .

were immaterial to the warrants”). But this analysis simply fails to consider the cumulative effect

that all of these omissions would have had on probable cause, which is what the law clearly

requires. See Rajaratnam, 719 F.3d at 146 (“[W]e [are] required to determine whether, if the

omitted material had been included in the affidavit, the affidavit would still establish probable

cause”); Salameh, 152 F.3d at 113 (“In assessing the proof of probable cause, the government’s

affidavit in support of the search warrant must be read as a whole”). In addition to being, by its

own terms, a deficient constitutional analysis, the Government’s argument does not, as a matter of

common sense, fairly evaluate the effect of what was misrepresented, or omitted: for example, it

demands reliance on unsupported speculation that Senator Menendez contacted then-

                                  in January 2019 to secure a favorable resolution of the criminal

prosecution against          ; it requires looking the other way in the face of evidence that Senator

Menendez’s position on aid to Egypt remained consistent throughout the period of time that the

alleged bribes occurred and thus was unaffected by those “bribes; and it requires that those who

were determining whether to issue a warrant pretend that Senator Menendez had taken actions

based upon the payment of bribes when there was specific omitted evidence that he had not, as is

discussed further below.

       But beyond the fundamental failure to consider all of the evidence together, the

Government disregards the law in another, perhaps even more alarming way: it repeatedly

references “highly inculpatory information” that it claims “if included [in the search warrant

affidavits], further supported probable cause.” Opp. at 13-14; see also id. at 7, 55, 56, 57. The

Government thus implores the Court to “look[] to the face of the original indictment returned in




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this case” which it claims “reveals a number of damning inculpatory details that were not included

in that warrant’s affidavit.” Id. at 55-56. But this invitation, a cornerstone of the Government’s

argument, absolutely must be rejected, for contrary to the Government’s contention, reference to

facts outside of the four corners of the affidavits obviously cannot save the Government’s

unconstitutional warrants. And that is because, as a matter of basic law, the factual information to

support a probable cause finding “must be contained within the four corners of a written affidavit

given under oath.” United States v. Falso, 544 F.3d 110, 122 (2d Cir. 2008); cf. United States v.

Rosa, 626 F.3d 56, 64 (2d Cir. 2010) (the Government “may no longer rely on unincorporated,

unattached supporting documents to cure an otherwise defective search warrant”). But by the

Government’s own admission the affidavits at issue here did not include any of the referenced

“inculpatory information,” and the Government does not explain, with citation to caselaw or

otherwise, how allegations contained in an indictment returned after the warrants were issued

could contribute to a probable cause finding. Indeed, if subsequently obtained incriminating

evidence or a later returned indictment could cure a search warrant unsupported by probable cause,

then no motion to suppress would ever be allowed. But this is obviously not the law. See Maryland

v. Garrison, 480 U.S. 79, 85 (1987) (“items of evidence that emerge after the warrant is issued

have no bearing on whether or not a warrant was validly issued”); United States v. Reinholz, 245

F.3d 765, 775 (8th Cir. 2001) (“[R]etroactively supplementing the affidavit with material

omissions bolstering probable cause would undermine the deterrent purpose of the exclusionary

rule.”); United States v. Nelson, No. 09-cr-40130, 2010 WL 2746400, at *11 (D.S.D. July 12,

2010) (“[T]he case law suggests that such omitted information cannot save an affidavit that

otherwise violates Franks.”). Indeed, the Government’s reliance on evidence not before the

Magistrate Judges who issued these warrants can only be viewed as an implicit admission that




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what was before those judicial officers, as supplemented by what was omitted, would not have

supported a probable cause determination. See United States v. Voustianiouk, 685 F.3d 206, 214

(2d Cir. 2012) (“The Supreme Court, however, has made clear that the mere fact that officials were

in possession of evidence that would have provided probable cause for the search that they

ultimately conducted is irrelevant in determining whether a search violated the Fourth Amendment

of the Constitution.” (emphasis in original) (citing Whiteley v. Warden, 401 U.S. 560, 565 n. 8

(1971) (“[A]n otherwise insufficient affidavit cannot be rehabilitated by testimony concerning

information possessed by the affiant when he sought the warrant but not disclosed to the issuing

magistrate.”))).

       Indeed, the Government’s attempt to rely upon evidence beyond the search warrant

affidavits is even more misguided here, where the purportedly “inculpatory” evidence which

attempts to show that Mr. Hana swindled Senator Menendez, Opp. at 15-22, is far from

incriminating, but rather itself undermines probable cause to believe that Mr. Hana and Senator

Menendez—whom Mr. Hana allegedly “swindled”—were co-conspirators who entered into an

agreement or that there was a corrupt quid pro quo. See United States v. Jackson, 371 F. Supp. 3d

257, 267 (E.D. Va. 2019) (“[C]onspiracy [to commit bribery] requires a mutual understanding

among co-conspirators with respect to the object of the conspiracy as well as an overt act in

furtherance of the conspiracy.”); United States v. Benjamin, No. 21-cr-706, 2022 WL 17417038,

at *12 (S.D.N.Y. Dec. 5, 2022) (concluding that there must be “a contemporaneous mutual

understanding that a specific quid and a specific quo are conditioned upon each other” to establish

criminal liability for bribery in the context of campaign contributions). To the contrary, this

evidence actually undermines the Government’s theory of the case, the crux of which is that Mr.

Hana, acting as an unregistered agent of the Government of Egypt, provided things of value to




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Senator Menendez to get the Senator to act on Egypt’s behalf. If, as this information suggests, Mr.

Hana actually “swindled” Senator Menendez, Opp. at 16, then Mr. Hana’s actions run counter to

the notion of any agreement at all, let alone one that purportedly sought to use Mr. Hana to curry

favor with the Senator, directly contrary to the Government’s theory of the case, as alleged in the

affidavits. See Ex. D ¶ 18, Ex. E ¶ 20, Ex. F ¶ 8, Ex. G ¶ 14 (“Will Hana is an individual who, as

set forth in part below, is suspected of arranging a scheme to provide Arslanian and Menendez

with things of value in exchange for official acts by Menendez”).

       In any event, that significant evidence was omitted from the Government’s affidavits is not

seriously disputed by the Government. As explained in Mr. Hana’s moving brief, the affidavits

attempt to paint a portrait of a “suspected bribery scheme” wherein Mr. Hana, among others,

provided Senator and Mrs. Menendez with certain things of value “in exchange for promised and

completed official acts by Menendez, including . . . contacting . . .           in January 2019, to

secure a favorable resolution of a New Jersey criminal prosecution that was pending against

. . . and [other] acts by Menendez to approve, or not interfere with, foreign military aid to Egypt,”

Ex. D ¶ 29, Ex. E ¶ 31, Ex. F ¶ 19, Ex. G ¶ 25, including, for example “sign[ing] off” on foreign

military sales to Egypt, Ex. D ¶ 79(c), Ex. E ¶ 79(c), Ex. F ¶ 69(c), Ex. G ¶¶ 78(i), (n), and

disclosing non-public information relating to foreign military sales and aid to Egyptian officials,3

see Ex. G ¶ 78. But conspicuously missing from the Government’s one-sided narrative are

numerous statements from multiple Government officials that directly negate any contention that

Senator Menendez actually took the acts alleged as the result of a purported bribe. For example,

the affidavits do not include: (1)            June 22, 2022 statement that he “did not remember




3
  With respect to Senator Menendez’s purported disclosure of non-public information concerning
foreign military aid to Egypt, Mr. Hana’s challenge is limited to the September 20, 2023 Affidavit.


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what was discussed on the January 20, 2019 phone call” with Senator Menendez and that “[t]he

only time that           remembers Menendez raising a criminal investigation with               was

during the September 6, 2019 meeting,” December 28, 2023 Gov’t Disclosure Letter at 6; or (2)

the July 26, 2022 statement from

                                            that “[f]rom 2018 to the present, [she] has not seen an

evolution in Menendez’s position on aid to various Middle Eastern countries or Egypt in

particular,” id. at 5. ECF No. 143, Memorandum of Law in Support of Defendant Wael Hana’s

Omnibus Pretrial Motions (“Hana Br.”) at 122-23, 128. Nor does the September 20, 2023

Affidavit mention: (1)                  August 11, 2023 statement that “Menendez held up Egypt

money for ‘forever and a day.’ . . . Menendez held up that money [for foreign military financing]

for a long time,” December 28, 2023 Gov’t Disclosure Letter at 8; (2)                   August 11,

2023 statement that “[t]here was no absolute prohibition on members sharing non-public [Senate

Foreign Relation Committee (“SFRC”)] information with third parties,” id.; or (3) the then-



                                            June 16, 2023 comment that “[i]t would have been

extraordinary for FMF funding that was on hold in September 2019 not to have been released by

the end of the month regardless,” id. at 10. Hana Br. at 123-24.

       Unable to substantively refute the clear omission of these statements from the warrant

affidavits, the Government resorts to a claim that because “the bribery offenses under investigation

did not require proof that Menendez actually engaged in any official act at all, only that there was

a corrupt quid pro quo,” Opp. at 34, and “none of these government officials was in any position

to know whether Menendez . . . had actually agreed to engage in a corrupt quid pro quo, they were

[therefore] not in any position to give any statement that might defeat probable cause,” id. at 34-




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35. Specifically, the Government asserts that “[n]othing that Official-2                said about the

content of the meetings could defeat probable cause because bribery does not require any official

to perform any official act, as opposed to promise or agree to do so,” id. at 35 (emphasis in

original), and that the State Department and SFRC employees’ statements merely “provided

background and context information on military aid [that] in no way undermined probable cause

that Menendez agreed to or did engage in a corrupt quid pro quo,” id. at 37. But the Government’s

argument misses the point. While a public official need not actually undertake an official act to

commit the crime of conspiracy to commit bribery under 18 U.S.C. § 371—so long as he has

agreed to do so—whether or not the public official actually took the agreed upon official act is still

highly probative of whether there was an agreement. As courts have recognized, “the fact that [the

public official] did not perform official acts clearly is strong evidence that [the alleged briber] did

not make payments to [the public official] with the intent to influence official acts and did not

conspire to do so. . . . .” Jackson, 371 F. Supp. 3d at 269. “Thus, the fact that [the public official]

did not perform official acts demonstrates that [the alleged briber] did not give, offer, or promise

anything of value to [the public official], or conspire to do so, with the intent to influence official

acts.” Id. Therefore, while the State Department and SFRC employees’ statements may not be

dispositive of “whether Menendez actually took certain acts,” Opp. at 37 (emphasis in original),

they are certainly probative, even if not dispositive, of whether there was any agreement for

Senator Menendez to take action with respect to foreign military financing. Similarly, though

          statements that he did not recall discussing a criminal matter with Senator Menendez

during their January 20, 2019 phone call do not necessarily mean that the discussion did not occur,

it is certainly probative of whether or not it did, which collectively with the other identified

misstatements and omissions undermines any finding of probable cause that was made without




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consideration of this evidence. See United States v. Sterling Centrecorp, Inc., No. 08-cv-02556,

2013 WL 3166585, at *58 (E.D. Cal. June 20, 2013), aff’d, 977 F.3d 750 (9th Cir. 2020) (witnesses

“inability to remember certain duties or actions taken as officer and directors” was suggestive of

“the fact that such duties did not exist and that such actions did not occur”).

        But, regardless of what the Government must show under 18 U.S.C. § 371—that is

irrespective of whether the Government need only show a promise to take an official act, as

opposed to the actual undertaking of such act—the affidavits here explicitly allege, in addition to

promises, that Senator Menendez took and “completed official acts,” Ex. G ¶ 25, see also Ex. D ¶

29, Ex. E ¶ 31, Ex. F ¶ 19 (stating that Senator and Mrs. Menendez were provided with things of

value “all in exchange for official acts by Menendez”), and thus, the conflicting information

identified above should certainly have been presented to the issuing magistrates when assessing

probable cause. See United States v. Broadnax, No. 19-cr-20352, 2022 WL 2079713, at *2 (E.D.

Mich. June 9, 2022) (defendant was entitled to a Franks hearing where he presented contradictory

information to part of the search warrant affidavit); United States v. White, No. 07-cr-4, 2007 WL

2404995, at *12 (N.D. W. Va. Aug. 17, 2007) (granting a Franks hearing when a police report

contradicted the same officer’s affidavit in support of the search warrant, showing that the affidavit

contained misrepresentations and omissions). Indeed, had the magistrates been presented with this

additional information, showing that Senator Menendez did not, in fact, take these acts, as a matter

of the common sense that governs this inquiry, see Gates, 462 U.S. at 238 (“The task of the issuing

magistrate is simply to make a practical, common-sense decision whether, given all the

circumstances set forth in the affidavit before him . . . there is a fair probability that contraband or

evidence of a crime will be found in a particular place.”), they might very well have reconsidered

their probable cause determinations and come to a different conclusion. For example, had the




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issuing magistrates known that “there was no absolute prohibition on members sharing non-public

[SFRC] information with third-parties,” December 28, 2023 Gov’t Disclosure Letter at 8, the

Government’s insinuation that doing so was indicative of a bribe would have carried little to no

weight in assessing probable cause. Similarly, the fact that U.S. officials saw no change in Senator

Menendez’s stance on military aid toward Egypt after the purported bribes were made, would have

disproved the Government’s position that the Senator took “acts . . . to approve, or not interfere

with, foreign military aid to Egypt.” Ex. D ¶ 29, Ex. E ¶ 31, Ex. F ¶ 19, Ex. G ¶ 25. Probable

cause would then have been lacking, and suppression required.

       Nor, although the Government characterizes Mr. Hana’s arguments as based entirely on

omissions, Opp. at 12-13, is this correct; though these flagrant omissions certainly include critical

information that could and would have made a difference to any conscientious reviewing judicial

officer, the affidavits also misstate essential facts, further skewing the story presented to those

issuing magistrates. Thus, for example, the Government concedes that the December 20, 2022,

January 17, 2023 and February 14, 2023 Affidavits misstate when Mr. Uribe stopped making

payments on the Mercedes-Benz Convertible, but nonetheless claims that its failure to update this

information in the warrants was “immaterial and plainly inadvertent.” Id. at 12-13, 50-51. The

Government similarly argues that the misrepresentation concerning Mr. Uribe’s role in

contained in the January 17, 2023, February 14, 2023 and September 20, 2023 Affidavits, and

related claim that “        apparently ran            as a nominee for Uribe,” Ex. G ¶ 46(a), “would

not have supported probable cause.” Opp. at 47.

       But, it is near impossible to fathom how such information could be immaterial or irrelevant

to probable cause: the affidavits conspicuously allege that the Mercedes-Benz was provided to

Senator and Mrs. Menendez in exchange for the Senator’s assistance in resolving the pending




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criminal prosecution against              and criminal investigation against              , see Ex. D

¶¶ 29, 31(a), 54(x), Ex. E ¶¶ 31, 33(a), 55(x), Ex. F ¶¶ 19, 21(a), 44(x), Ex. G ¶¶ 25, 27(a), 52(x);

thus the Government itself places these allegations at the heart of the alleged bribery scheme.

Further, the Government heavily relies on allegations that Mr. Hana arranged for Mr. Uribe to

provide Senator and Mrs. Menendez with the Mercedes-Benz as a purported bribe in exchange for

the Senator’s assistance in resolving the criminal charges against             , see id., and uses the

fact that Mr. Uribe “set up automatic payments on the automotive loan for the Mercedes-Benz

Automobile” Ex. D ¶ , Ex. E ¶ , Ex. F ¶ , Ex. G ¶ 59, to demonstrate that the vehicle was, in fact,

a bribe. Accordingly, evidence negating the fact that Mr. Uribe was making payments on the

Mercedes-Benz would certainly undermine the Government’s position that it was provided as a

bribe payment, and thus certainly should have been presented to the issuing magistrates in

determining probable cause. Similarly, information explaining that Mr. Uribe merely “worked as

a consultant for [       ],” December 28, 2023 Gov’t Disclosure Letter at 8, and that “             is

the owner of          ,” id. at 3, 8, directly negates the allegation, upon which probable cause was

based, that “          apparently [ran]             as a nominee for Uribe,” Ex. G ¶ 46(a), and

therefore, should have been provided to the issuing magistrates.

        Beyond these indisputably omitted allegations and misrepresentations, the affidavits

contain numerous other omissions—identified at length in Mr. Hana’s moving brief, see Hana Br.

at 129-30—that when collectively considered in connection with the affidavits’ remaining

allegations, fail to establish probable cause. For example, the affidavits do not include: (1)

          June 16, 2022 statement that “Nadine Menendez attempted to pay [him] twice for work

he performed at Menendez’s house,” December 28, 2023 Gov’t Disclosure Letter at 9, directly

negating any inference that the home renovation services that                   allegedly performed




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were “paid for by Hana” in exchange for the Senator’s assistance with an immigration case

involving                  brother, as is alleged in the affidavits; or (2)                      July 16,

2022 statement that “[w]hen asked if he talked to Nadine Menendez or Menendez to help him

partner with municipalities,                said no. When asked if Nadine Menendez told

to contact mayors,           said yes,” id. at 2, negating any belief that                ever asked for

the Senator’s assistance. Likewise, the September 20, 2023 Affidavit fails to include

        July 14, 2023 corroborating statement that “[i]n or about March 2022, Menendez told

      to figure out how to list, on his financial disclosure form, an asset of gold bullion owned by

Nadine Menendez. Menendez told               that the gold bullion was gold that Nadine Menendez’s

had received from her deceased mother,” id. at 11, and                             September 19, 2023

statement discrediting the Government’s narrative that Mr. Daibes provided gold to Senator and

Mrs. Menendez in exchange for favorable acts, id. Again, the Government does not deny the fact

that these statements were omitted from the affidavits, arguing instead that the omissions “are

immaterial because they were cumulative . . . of other facts that had already been disclosed,” Opp.

at 49, and “add[] little if anything” to the disclosures already contained in the warrant affidavits,

id. at 46, see also id. at 44 (“the challenged affidavits disclose a remark . . . conveying substantially

the same point”). But far from “conveying substantially the same point” these statements

communicate an entirely different message than what was actually alleged. Although the affidavits

include, in a footnote,                 statement that “when Menendez learned of the lawnmower

[that he provided Mrs. Menendez] he became angry and told [Mrs. Menendez] she had to pay

        ,” Ex. D ¶ 66(i)(ii) n. 73, Ex. E ¶ 67(i)(ii) n. 75, Ex. F ¶ 56(i)(ii) n. 76, Ex. G ¶ 64(i)(ii) n.

85, this statement fails to convey the fact that Mrs. Menendez actually offered to pay

for his services, negating any belief that this was a bribe as alleged in the affidavits. And while




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Mr. Hana does not dispute that the affidavits disclose, again in a footnote, that             “denied

that Menendez had made calls on               behalf,” Ex. D ¶ 67(bb) n. 87, Ex. E ¶ 68(bb) n. 88, Ex.

F ¶ 57(bb) n. 89, Ex. G ¶ 65(bb) n. 98, they do not state the even more powerful truth that

         never even asked for the Senator’s help in this regard, negating any inference that a bribe

was ever paid or discussed. The Government further claims that the September 20, 2023

Affidavit’s inclusion of Mrs. Menendez’s “statement to a jeweler . . . claiming that the gold had

come from her deceased mother,” Opp. at 49, Ex. G ¶ 81(g)(ii), and counsel for Mrs. Menendez’s

claim that she “received possession of seven one-ounce gold bars from Daibes to show a mutual

acquaintance,” Ex. G ¶ 85 n.126, sufficiently covered                         and

statements; but again this is not the case.            and               statements provide pertinent

first-hand knowledge of how the Menendezes obtained possession of the gold, discrediting the

Government’s narrative that Mr. Daibes provided them with the gold in exchange for any official

act.

        Of course, it was not for the Government to unilaterally determine that it could conceal this

information from the Magistrate Judges, especially whereas here, the facts bore directly on the

existence of the alleged bribery scheme. Rather, the issuing magistrates should have been told all

of the facts so that they could make an informed decision after considering all of the relevant

information as a whole. See United States v. Stewart, 337 F.3d 103, 107 (1st Cir. 2003)

(“Meticulous compliance [with the Fourth Amendment] involves more than an agent’s own

judgment as to the ultimate importance of a piece of information to a judgment of probable

cause.”). Because this did not occur, a Franks hearing should be ordered and the evidence seized

under the subject search warrants should, following that hearing, be suppressed.




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       As Mr. Hana has repeatedly conveyed, both in his moving brief and through his arguments

above, the misrepresentations in and omissions from the affidavits based upon which the search

warrants before the Court were issued, were undoubtedly “material, or necessary to the issuing

judge’s probable cause finding.” Nejad, 436 F. Supp. 3d at 719. That is, when the false statements

are excised from the affidavit, and the omitted allegations are fully considered in proper context,

there “remains [no] residue of independent and lawful information sufficient to support probable

cause. Awadallah, 349 F.3d at 65. Rather, what remains are allegations that Senator Menendez

undertook various acts wholly apart from any purported bribe payment. In order words, stripped

of the offending misrepresentations and contextualized by the crucial omissions, the affidavits

demonstrate only that Senator Menendez was involved in certain military funding decisions

regarding Egypt and that he spoke to a New Jersey state official, but they do not provide probable

cause to believe he engaged in that conduct—or agreed to—as part of a quid pro quo bribery

scheme. Under these circumstances, “the search warrant must be voided and the fruits of the

search excluded to the same extent as if probable cause was lacking on the face of the affidavit.”

Franks, 438 U.S. at 156.

       B.      The Government Knowingly Or Recklessly Included False And Misleading
               Statements And Omissions In Its Warrant Affidavits.

       The Government further argues that “[e]ven if any of the above-described information were

material . . . a Franks hearing, much less suppression, would still be inappropriate because of the

lack of any showing of intent to mislead or reckless disregard for the truth.” Opp. at 51. But the

Government’s attempts at justifying its conduct fail. The Government does not—because it simply

cannot—dispute that at the time it made its requests for and ultimately obtained the challenged

warrants, it was in possession of the witness statements identified above, which, as Mr. Hana has

explained, shed significant light and often directly contradict, the pertinent allegations included in



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the affidavits upon which the issuing magistrates relied. See Section I.A, supra; Hana Br. 122-

130. Aware of this material information, the Government nonetheless made the deliberate decision

not to provide it to the judges who were considering the applications for these search warrants.

That decision cannot, especially in a case of this magnitude and profile, have been an accident, or

mere oversight. Rather, it was a conscious, strategic decision that served to make a finding of

probable cause more likely and was therefore certainly intentional, or at the very least, made with

reckless disregard for the truth.

       In arguing that Mr. Hana has failed to satisfy his burden under Franks, the Government

misconstrues the law, confusing what the defendant must show to obtain a hearing under Franks,

with what the defendant must ultimately prove at the Franks hearing to obtain suppression, when

it contends that “the defendant must establish with ‘credible and probative evidence’ that the

omission of information ‘was designed to mislead’ or was ‘made in reckless disregard of whether

[it] would mislead.’” Opp. at 51 (citing Rajaratnam, 719 F.3d at 154). While a court must find

“credible and probative evidence that the omission of information in a[n] . . . application was

designed to mislead or was made in reckless disregard of whether [it] would mislead,” to suppress

the fruits of a challenged search warrant under Franks, United States v. Lahey, 967 F. Supp. 2d

698, 710 (S.D.N.Y. 2013) (explaining that in performing such inquiry the court must consider the

full record—“especially the Franks hearing testimony regarding the states of mind of the

government agents”); United States v. Lambus, 897 F.3d 368, 373 (2d Cir. 2018) (weighing the

full record and testimony presented during two Franks hearings in reviewing the district court’s

suppression order, noting that “the reviewing court must be presented with credible and probative

evidence” that suppression was warranted (emphasis in original)), in order to get a Franks hearing

in the first place, a defendant need only make a “substantial preliminary showing that . . . the




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claimed inaccuracies or omissions are the result of the affiant’s deliberate falsehood or reckless

disregard for the truth, Nejad, 436 F. Supp. at 718-19. That is precisely what Mr. Hana has done.

See Hana Br. at 122-27 (explaining how the misstated and omitted information was well-known

to the affiants at the time their requests for the challenged search warrants were made).

       In the Second Circuit, “the guideposts for determining recklessness are different when it

comes to evaluating” misrepresentations, as opposed to omissions. United States v. Rajaratnam,

No. 09-cr-1184, 2010 WL 4867402, at *9 (S.D.N.Y. Nov. 24, 2010).                     With respect to

misrepresentations, the reckless disregard standard is met when the affiant: (1) made a false

statement with knowledge that it was false; (2) had serious doubts as to the truth of the statement;

or (3) had obvious reason to doubt the veracity of the statement. Lahey, 967 F. Supp. 2d at 709-

10. With regard to omissions, a reckless disregard for the truth is shown when “any reasonable

person would have known that this was the kind of thing the judge would wish to know.” United

States v. Perez, 247 F. Supp. 2d 459, 474 (S.D.N.Y. 2003) (quoting Wilson v. Russo, 212 F.3d 781,

788 (3d Cir. 2000)). As the Government acknowledges, “[r]ecklessness may be inferred where

the omitted information was ‘clearly critical’ to the probable cause determination.” Rivera v.

United States, 928 F.2d 592, 604 (2d Cir. 1991); Opp. at 11 (“To permit the inference that an

affiant acted with reckless disregard for the truth, the omitted information must be ‘clearly critical’

to assessing the legality of the search.”). And an inference of intentionality or recklessness is all

the more appropriate where, as here, the challenged affidavits are replete with repeated omission

after omission, as Mr. Hana has shown. For example, in United States v. Lahey, the court

recognized that although each individual omission may not have established reckless disregard for

the truth, “the cumulative effect of all the omissions was to eliminate nearly every indicator

detracting from probable cause,” leading inexorably to a finding of recklessness. 967 F. Supp. 2d




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at 723 (“The relevant evidence . . . and the related, clearly critical nature of the . . .

misrepresentation and [cumulative] omissions . . . leads the Court to find that recklessness is to be

inferred.”). Similarly in United States v. Murray, the court concluded that “in light of the number

of alleged material omissions and misrepresentations and their importance to the probable cause

determination . . . [the] Defendant ha[d] raised a sufficient inference of recklessness.” No. 18-cr-

30018, 2020 WL 4904758 (D. Mass. Aug. 20, 2020); see also United States v. Vigeant, 176 F.3d

565, 572 n.8 (1st Cir. 1999) (refusing to find that affiant did not act with reckless disregard for the

truth where the court failed to consider the cumulative effect of multiple omissions in the affidavit);

United States v. Roman, 311 F. Supp. 3d 427, 437 (D. Mass. 2018) (holding that multiple omissions

in search warrant affidavit “had [the] cumulative effect of recklessness”).

       Unable to justify the affiants’ calculated decisions to repeatedly exclude, and at times

misstate, the highly relevant, and significant information identified above, the Government returns

to its contention that it omitted “numerous devastating inculpatory facts” from the warrant

affidavits, contending that this negates any inference of recklessness or intent to mislead. Opp. at

52, 55-57.    But the fact that inculpatory information was excluded from a search warrant

application does not excuse the failure to include information that would have negated probable

cause. In this regard, this case is readily distinguishable from those cited by the Government, id.

at 55 (citing United States v. Thomas, 788 F.3d 345, 351 (2d Cir. 2015); Rajaratnam, 719 F.3d at

155 n.18), which stand for the common sense proposition that when the alleged omission would

strengthen the probable cause determination, then it is difficult to infer that the Government

intentionally or recklessly omitted the information. Thomas, 788 F.3d at 351; Rajaratnam, 719

F.3d at 155 n.18. Here, the Government attempts to dispel the insinuation that the affiants acted




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intentionally or recklessly by identifying “inculpatory” but different allegations. But, of course,

that is not the case with regard to the kind of exculpatory information omitted here.

          Finally, the Government seeks to justify its failure to include               denial that he

paid anyone to bring a favorable resolution to his case by saying that it did so elsewhere, in passing.

Opp. at 40. But that disclosure not only failed to include the most significant statement that

        “never gave Hana or Uribe any money for their help with his case,” December 28, 2023

Gov’t Disclosure Letter at 10, a statement that would have further served to negate a finding of

probable cause, but was tucked away in a footnote made in connection with completely unrelated

allegations, pages and pages after the Government set forth the        -related allegations. Compare

Ex. D ¶ 31(a)-(c), Ex. E ¶ 33(a)-(c), Ex. F ¶ 21(a)-(c), Ex. G ¶ 27(a)-(c) (setting forth     -related

allegations), with Ex. D ¶ 55 n.57, Ex. E ¶ 56 n.58, Ex. F ¶ 45 n.59, Ex. G ¶ 53 n.67 (disclosing

footnote).4 Indeed, if anything, this sleight of hand also serves to further demonstrate the

Government’s knowing, or at least reckless, attempt to mislead the issuing magistrates. Indeed,

this method of concealment was the Government’s modus operandi: it also attempted to hide

information relating to                         statement that “[he] never provided Uribe with his

email address to use to purchase or make payments on any vehicle,” id. at 3, in a footnote separated

from the pertinent corresponding allegations. See Ex. D ¶ 61(h) n.65, Ex. E ¶ 62(h) n.66, Ex. F ¶

51(h) n.67, Ex. G ¶ 59(h) n.76. Aside from the fact that it is generally insufficient to raise

consequential points in a footnote, see Jackson v. Kijakazi, 588 F. Supp. 3d 558, 583 (S.D.N.Y.

2022) (“It is generally inappropriate to make substantive arguments in footnotes.”), the rather sly



4
    See Ex. D ¶ 55 n.57, Ex. E ¶ 56 n.58, Ex. F ¶ 45 n.59, Ex. G ¶ 53 n.67 (“[O]n June 16, 2022 . . .
      . . . stated in substance and part, that he spoke to Hana regarding his prosecution in the same
way that he spoke to everyone about it, and that he did not pay anyone to bring a favorable
resolution to his case. When asked if Hana or Uribe had assisted him in resolving his case, he
responded, ‘What could they do? They’re not lawyers.’”).


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manner in which the Government conceals this information in footnotes here bespeaks the kind of

a lack of good faith to neutrally present all relevant information to the reviewing magistrates that

gives rise to relief under Franks and its progeny.

       For the reasons set forth above as well as more fully in Mr. Hana’s moving brief, a Franks

hearing is warranted so that the Court can fully and fairly assess the falsities and omissions in the

search warrant affidavits to which Mr. Hana has pointed, both with respect to the substance and

materiality of those falsities and omissions and with regard to whether those statements or

omissions were made either “knowingly and intentionally, or with reckless disregard for the truth.”

Franks, 438 U.S. at 155. Indeed, such a hearing—and not the inclusion of evidence beyond the

affidavits at issue in briefs, as the Government has done here—is the way in which this kind of

dispute is resolved, see, e.g., United States v. Mandell, 752 F.3d 544, 551–52 (2d Cir. 2014)

(“Franks permits a defendant to challenge the truthfulness of factual statements made in the

affidavit, and thereby undermine the validity of the warrant and the resulting search or seizure.”).

II.    EVIDENCE DERIVED FROM THE EXECUTION OF CERTAIN SEARCH
       WARRANTS SHOULD BE SUPPRESSED BECAUSE THEY LACK
       PARTICULARITY AND ARE OVERBROAD.

       In his moving brief, Mr. Hana set forth in detail why the December 23, 2020 Warrant,5

November 24, 2021 Warrant,6 and January 10, 2022 Warrant7 sought documents and

communications beyond the enumerated offenses identified therein and, as such, the searches and

seizures pursuant to those warrants violated Mr. Hana’s rights under the Fourth Amendment to the



5
 See Ex. A, December 23, 2020 Search Warrant and Supporting Affidavit at SDNY_R_00003416-
00003422.
6
 See Ex. B, November 24, 2021 Search Warrant and Supporting Affidavit at SDNY_R_00003609-
00003617.
7
 See Ex. C, January 10, 2022 Search Warrant and Supporting Affidavit at SDNY_R_00004159-
00004165.


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Constitution of the United States. Hana Br. at 111-118. To justify a search of electronically stored

information, the Government must establish that there is probable cause to believe that a specific

crime has occurred and that each item to be seized is evidence of that specified offense. United

States v. Galpin, 720 F.3d 436, 446 (2d Cir. 2013) (A “warrant must specify the items to be seized

by their relation to designated crimes.”). Thus, to protect against the “general rummaging in a

person’s belongings,” United States v. Cioffi, 668 F. Supp. 2d 385, 390 (E.D.N.Y. 2009), the

Fourth Amendment’s Warrants Clause “requires particularity and forbids overbreadth,” United

States v. Zemlyansky, 945 F. Supp. 2d 438, 450 (S.D.N.Y. 2013). A warrant is sufficiently

particular if it (1) identifies “the specific offense for which the police have established probable

cause”; (2) describes “the place to be searched”; and (3) specifies “the items to be seized by their

relation to the designated crimes.” Galpin, 720 F.3d at 445-46. But a warrant is overbroad, and

thus unconstitutional, if the description of the items to be searched and seized is “broader than can

be justified by the probable cause upon which the warrant is based.” Nejad, 436 F. Supp. 3d at

725, 730 (cleaned up). When a warrant lacks particularity or is overbroad, the search is invalid,

and the resulting evidence should be suppressed. See Cioffi, 668 F. Supp. 2d at 396.

       The Government submits that the warrants in issue “identified the specified offenses for

which probable cause was established.” Opp. at 60. But that is just not so, as set forth in Mr.

Hana’s motion. To the contrary, the December 23, 2020 Warrant, November 24, 2021 Warrant,

and January 10, 2022 Warrant each contained requests for communications or documents

concerning (1) the previously executed November 25, 2019 search warrant and criminal

investigation; and (2) the use of “alternative methods of communications believed to be less easily




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accessed or intercepted by law enforcement,” whether or not they relate to the specified offenses

listed in the warrant. 8

        Rather than explaining how those two categories of documents and communications related

to the “designated crimes,” Galpin, 720 F.3d at 445-46, the Government submits that the “subject

matter is directly probative of [Mr.] Hana’s consciousness of guilt” and “relevant to establishing

whether [Mr.] Hana took any actions to conceal his activities from law enforcement.” Opp. at 67.

Of course, to the extent that such evidence would relate to a charge of obstruction, that was not

specified as an offense in the challenged warrants—though obstruction was identified in a later

search warrant obtained on January 17, 2023, see Hana Br. at 116, n.41. That is, because none of

the Warrants enumerated obstruction as a specified offense, the items that relate to obstruction

violate the particularity doctrine and are void as overbroad. See Galpin, 720 F.3d at 448. For

example, in Galpin, the Second Circuit held that where a warrant specified only the offense of

failing to register as a sex offender, the portions of the warrant authorizing a search for images of

child sexual activity—a crime that was not specified—lacked particularity and was overbroad. Id.

Similarly, in Cioffi, the court held that a warrant to search the defendant’s email account was

unconstitutionally overbroad where it did not limit the items to be seized to evidence of the

enumerated offenses. 668 F. Supp. 2d at 396. Likewise, here, the portions of the warrants seeking




8
  The specified offenses are: (1) 18 U.S.C. §§ 951 and 371 (acting and conspiring to act as an
agent of a foreign government without prior notification to the Attorney General); (2) 22 U.S.C.
§§ 612 and 618(a)(1) and 18 U.S.C. § 371 (acting and conspiring to act as an agent of a foreign
principal without registering with the Attorney General as required by FARA); (3) 18 U.S.C. §§
201 and 371 (bribing or offering to bribe or demanding or accepting a bribe, and conspiring to do
the same, with respect to a United States Senator); (4) 18 U.S.C. §§ 1343, 1346, and 1349 (honest
services wire fraud and conspiracy to commit the same); (5) 18 U.S.C. § 1951 (extortion under
color of right and conspiring to do the same); (6) 18 U.S.C. §§ 1956 and 1957 (money laundering,
engaging in financial transaction in criminally-derived property, and conspiracy to do the same).
See Exs. A, B, C


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evidence of obstruction, a crime that is not specified, are overbroad and void. See id.; Galpin, 720

F.3d at 448. But more to the point, the Government’s opposition fails entirely to explain how

documents regarding “alternative methods of communication” relate to the specified offenses of

acting as an agent of a foreign government without prior notification to the Attorney General,

acting as an agent of a foreign principal without registering with the Attorney General, bribery,

honest services fraud, extortion, and money laundering. See Opp. at 67-68. That is, the search

warrants do not make the point that the Government makes now—that the purpose of this evidence

was for purposes of demonstrating consciousness of guilt, a purpose that the warrants attribute to

the destruction of documents, but not to the categories of information at issue here, which are

nowhere tied to the destruction of evidence. See Ex. A at SDNY_R_00003295 (noting in an

attachment to an unchallenged search warrant that account information may indicate the owner’s

“consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).”).

       Nor do the cases upon which the Government relies change the calculus, as none involve

a motion to suppress evidence seized pursuant to a warrant that is overbroad because it is for a

purpose not specified in the submissions supporting the warrant. Opp. at 67-68 (citing United

States v. Norris, 513 F. App’x 57, 60 (2d Cir. 2013); United States v. Rybicki, 287 F.3d 257, 264

(2d Cir. 2002); United States v. Baldeo, No. 13-cr-125, 2014 WL 351638, at *1 (S.D.N.Y. Jan. 31,

2014)). Those cases all stand for the uncontroversial proposition that evidence of consciousness

of guilt is admissible at trial, a contention which Mr. Hana does not and could not dispute. See

Norris, 513 F. App’x at 60 (holding evidence that defendant intended to “pump and dump” a stock

in connection with sham sale, and that he tried to cover up the fraud, was admissible at bank fraud

trial to show, inter alia, consciousness of guilt); Rybicki, 287 F.3d at 264 (holding that evidence




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that defendants failed to record alleged bribes on their financial documentation was admissible as

“indicative of consciousness of guilt”); Baldeo, 2014 WL 351638 at *1 (noting that evidence of

consciousness of guilt is admissible at trial). Thus, none of the cases upon which the Government

relies demonstrate that a warrant may seek evidence of an unspecified crime if that evidence

potentially demonstrates “consciousness of guilt” as to the offenses that are named, without

specifying that as the basis for seizing the evidence, as is necessary to avoid an overbreadth

challenge.

       For the reasons expressed above and as set forth more fully in Mr. Hana’s moving brief,

the Court should suppress evidence seized pursuant to the December 23, 2020 Warrant, November

24, 2021 Warrant, and January 10, 2022 Warrant, at least with respect to communications and

documents regarding (1) the November 25, 2019 search warrant and (2) use of “alternative

methods of communication,” as neither category of evidence was shown to relate to the specified

offenses, rendering the warrant unconstitutionally overbroad and lacking in the necessary

particularity. See Cioffi, 668 F. Supp. 2d at 396 (“The remedy for an overbroad search and seizure

is suppression of the resulting evidence.”).9


9
  The Government submits that the “inevitable discovery” also bars suppression because “[l]aw
enforcement issued grand jury subpoenas to both Menendez and IS EG Halal on the same date that
the Government executed the search warrant of the Menendezes’ home, seeking much of the same
information (and subsequent subpoenas were issued seeking more information), and the subpoena
recipients complied with these subpoenas through counsel.” Opp. at 69. However, the inevitable
discovery rule can only defeat suppression in this context “where the government can demonstrate
a substantial and convincing basis for believing that the requisite information would have been
obtained by subpoena,” United States v. Eng, 971 F.2d 854, 860 (2d Cir. 1992), which the
Government’s opposition fails to do. Indeed, the Government does not even explain what
information was requested in the grand jury subpoenas and how that information overlaps with the
items seized pursuant to the search warrant, other than stating in conclusory fashion that the
subpoenas sought “much of the same information.” See Opp. at 69.
Without providing “a substantial and convincing basis” to believe the grand jury subpoenas
obtained in this matter would have led to discovery of information seized pursuant to the unlawful
search warrants, the “inevitable discovery exception” cannot be invoked; indeed, to apply it here


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                                        CONCLUSION

       For the foregoing reasons, and for the reasons set forth in Mr. Hana’s moving brief, the

Court should grant defendant Hana’s motion, order a Franks hearing and suppress all evidence

seized pursuant to the challenged search warrants.


 Dated: February 19, 2024                            Respectfully submitted,


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would “swallow[] up the exclusionary rule.” Eng, 971 F.2d at 860. That is, “special care is
required on the part of a district court when the government relies on the subpoena power,” and
“subpoenas must not serve as an after the fact ‘insurance policy’ to ‘validate’ an unlawful search
under the inevitable discovery doctrine.” Id. at 860-861. Because the Government does not even
attempt to show, let alone to provide a “substantial and convincing basis,” that the subpoenas
would have led to any of the unlawfully seized information, the inevitable discovery rule cannot
prevent suppression. See id.; see also In re 650 Fifth Ave. & Related Properties, 934 F.3d 147,
165 (2d Cir. 2019) (holding that the district court erred in denying a motion to suppress defective
search warrant pursuant to inevitable discovery doctrine where the district court made only
“cursory findings” that the Government would have obtained unlawfully seized evidence through
civil discovery and a protective order without specifically analyzing and explaining how the
Government would have discovered each particular piece of evidence absent unlawful search).



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